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                          Exhibit 2
      (Total Compensation and Expenses Requested)
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                                     Total Compensation and Expenses Requested

Professional Firm                    Category                Hours      Fees             Expenses       Total Billed
Stumphauzer Foslid Sloman Ross &
Kolaya, PLLC                         Attorneys                 970.6       $307,576.50      $8,115.49       $315,691.99
Pietragallo Gordon Alfano Bosick &
Raspanti, LLP                        Attorneys                1,905.9      $631,071.50     $61,742.00       $692,813.50
Development Specialists, Inc.        Operations Consultant      535.2      $245,228.36      $1,186.08       $246,414.44
Lawgical Insight, LLC                eDiscovery Specialist       30.8        $9,718.75      $1,067.03        $10,785.78
HD Investigative Group, LLC          Investigations Firm         55.0       $12,375.00          $0.00        $12,375.00
                                                              3,497.5    $1,205,970.11     $72,110.60     $1,278,080.71
